Case 2:18-cv-09955-RSWL-SK Document 36 Filed 03/08/19 Page 1 of 3 Page ID #:116



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   8                          UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
 10                                 WESTERN DIVISION
 11
 12    JAN DAVIDSON, a citizen of California,     Case No. 2:18-CV-09955-RSWL-SK
 13                                             FINAL CONSENT JUDGMENT AND
 14                   Plaintiff,
              vs.                               PERMANENT INJUNCTION
 15
 16    ETSY, INC. a Delaware corporation,
       PRINTFUL, INC., a Delaware
 17    corporation; YONG JAE CHONG DBA
 18    WET NOSE DSIGN STUDIO, and
       DOES 1 thru 10 inclusive,
 19
 20                  Defendants.
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 22
 23
 24          Plaintiff Jan Davidson (“Plaintiff”) and Defendant Yong Jae Chong
 25    (“Defendant Chong”) having stipulated and jointly moved for entry of final
 26    judgment as follows:
 27          ///
 28          ///
                                                             FINAL CONSENT JUDGMENT AND
                                                                    PERMANENT INJUNCTION
Case 2:18-cv-09955-RSWL-SK Document 36 Filed 03/08/19 Page 2 of 3 Page ID #:117



   1         WHEREAS, Plaintiff and Defendant Chong entered into a Settlement
   2   Agreement (“Settlement Agreement”) that disposed of all the remaining claims in
   3   this Action; and
   4         WHEREAS, pursuant to the Settlement Agreement, Plaintiff and Defendant
   5   Chong have agreed to the entry of a Final Consent Judgment and Permanent
   6   Injunction that will provide as follows:
   7         1. That this Court has subject matter jurisdiction over this action as well as
   8   personal jurisdiction over Plaintiff and Defendant Chong.
   9         2. That venue is proper in this Judicial District.
 10          3. That Plaintiff Jan Davidson is the owner of U.S. Copyright Registration
 11    No. VA 2- 070-9591-945-025, Dated April 12, 2017 entitled. “BEER EYE
 12    CHART”
 13          4. That the Copyright-in-suit is valid and duly issued by the US Copyright
 14    Office.
 15          5. Pursuant to the Copyright Act, 17 U.S.C. § 501, Defendant Chong together
 16    with his officers, members, directors, agents, servants, employee and affiliates
 17    thereof, representative and attorneys, and all persons acting or attempting to act in
 18    concert or participation with them, are permanently enjoined and restrained from
 19    making, using, offering to sell, selling, or distributing within the United States, its
 20    territories and possession, or by importing into the United States, its territories and
 21    possession, the Accused Products, or any other goods that are no more than
 22    colorable variations thereof and that infringe the Copyrights-in-suit or trademark-
 23    in-suit, during the life of the Copyrights-in-suit.
 24          6. The Final Judgment shall be entered in favor of Plaintiff against Defendant
 25    Chong on Plaintiff’s causes of action for infringement of the Copyrights-in-suit.
 26          7. That the claims asserted in this litigation, be dismissed with prejudice.
 27          8. That no other or further relief be granted to Plaintiff or Defendant Chong
 28    with respect to each other.
                                                                  FINAL CONSENT JUDGMENT AND
                                                  -2-
                                                                         PERMANENT INJUNCTION
Case 2:18-cv-09955-RSWL-SK Document 36 Filed 03/08/19 Page 3 of 3 Page ID #:118



   1         9. That Plaintiffs and Defendant Chong affirmatively waive any and all rights
   2   to appeal this Final Consent Judgment and Permanent Injunction.
   3         10. That each party will bear its own costs and attorneys’ fees for this action.
   4         11. That this Court retain jurisdiction to monitor and enforce compliance
   5   with this Permanent Injunction.
   6         IT IS SO ORDERED, DECREED, AND ADJUDGED THAT FINAL
   7   JUDGMENT IS HEREBY ENTERED.
   8         The Clerk shall close this action.
   9
 10    DATED: 3/8/2019                        s/ RONALD S.W. LEW
 11                                           Hon. Ronald S.W. Lew
                                              U.S. District Judge
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                                                               FINAL CONSENT JUDGMENT AND
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                                                                      PERMANENT INJUNCTION
